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                   UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NEW YORK


BLACK LOVE RESISTS IN THE RUST, et al., in-
dividually and on behalf of a class of all others
similarly situated,

                     Plaintiffs,
                                                    No. 1:18-cv-00719-CCR
       v.

CITY OF BUFFALO, N.Y., et al.,

                     Defendants.


             MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
                  MOTION FOR CLASS CERTIFICATION
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                                PRELIMINARY STATEMENT

       For over a decade, the Buffalo Police Department (BPD) has unlawfully targeted Black

and Latino motorists for aggressive, punitive traffic enforcement. City policymakers sought to

transform a limited legal license to undertake administrative traffic checkpoints into a crime in-

vestigation and suppression strategy, in contravention of Fourth Amendment principles, which

prohibit officers from imposing burdensome seizures on citizens merely in the hope of ferreting

out crime; the strategy also contravened Fourteenth Amendment principles that proscribe the ra-

cially discriminatory assumption underlying the City’s policy, namely that Black and Latino citi-

zens are more prone to commit crimes. On the basis of this impermissible racial profiling, City

policymakers urged BPD officers to maximize traffic enforcement in Black and Latino neighbor-

hoods, incentivizing overzealous enforcement with an implicit quota system that tied overtime

opportunities to “production.” Relying on these same discriminatory assumptions, the BPD has

continued systematically to target Black and Latino motorists for traffic enforcement, acting with

deliberate indifference to their constitutional rights as reflected in frequent and ongoing individual

and community complaints. These practices form part of the City’s longstanding scheme to gen-

erate revenue on the backs of the poorest, least politically powerful people in Buffalo and are a

continuation of the City’s deep and troubled history of racial discrimination.

       In 2013, the City established a blatantly unconstitutional Checkpoint Policy, erecting un-

lawful crime suppression roadblocks under the guise of “traffic safety.” Under the Checkpoint

Policy, BPD officers stopped motorists without any individualized suspicion of wrongdoing, at-

tempted to develop evidence of criminal activity, and issued tickets for as many alleged traffic

violations as possible. Over the life of the program, the BPD ran more than 1,600 Checkpoints,

ensnaring thousands of predominantly Black and Latino motorists. The BPD placed Checkpoints

in predominantly Black or Latino neighborhoods seven times as often as in predominantly white


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neighborhoods, amounting to a policy of intentional discrimination in violation of the Fourteenth

Amendment and Title VI of the Civil Rights Act. Because the Checkpoint Policy failed to conform

to the limited exceptions permitting administrative searches and seizures, and because BPD offic-

ers operated under an unconstitutional conflict of interest, the Checkpoint Policy also violated the

Fourth Amendment and Due Process rights of the people subjected to it. Plaintiffs seek to certify

a damages class of individuals subjected to ticketing and arrests at Checkpoints (the “Checkpoint

Class”).

       In July 2015, the City launched the Buffalo Traffic Violations Agency (“BTVA”) to cap-

ture for the City traffic violation revenue that had previously gone to the State. With this financial

incentive in place, the BPD’s racially discriminatory traffic enforcement practices intensified yet

again. At and outside Checkpoints, the BPD maximized ticket revenue by targeting Black and

Latino motorists for multiple tickets in a single stop—especially tinted windows tickets. With the

full knowledge of the City’s highest leadership, BPD officers regularly issued four or more tinted

windows tickets at a time—one for each allegedly offending window. From 2012 through 2022,

the BPD issued nearly 52,000 tinted windows tickets in more than 22,000 incidents. BPD issued

more than 38,000 of the citations for which race could be determined—86.9%—to Black and La-

tino drivers, against only 5,800 to drivers of other races. This widespread custom and practice

violates the Due Process Clause, the Equal Protection Clause, and Title VI of the Civil Rights Act.

Plaintiffs seek to certify a damages class of Black and Latino individuals issued multiple tinted

windows tickets in a single stop (the “Tinted Windows Class”).

       Though it has curtailed some of the abuses exposed over the course of this lawsuit, the City

continues to subject Black and Brown motorists to a systemic program of racially motivated traffic

stops, ticketing, and vehicle impounds. Despite receiving high levels of individual and community




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complaints, the Mayor and BPD Commissioners have deliberately chosen not to implement ade-

quate accountability, supervision, and training measures that could meaningfully reduce racially

biased traffic enforcement. For this reason, Plaintiffs also seek to certify an injunctive class to

obtain broad prospective relief to prevent ongoing and future constitutional violations (the “Traffic

Enforcement Class”).

         The time for accountability is now. Plaintiffs’ claims—tightly focused on redressing harms

caused by City policy, custom, and practice as required by Monell v. Department of Social Ser-

vices, 436 U.S. 658 (1978)—cry out for class-wide adjudication. Plaintiffs seek certification of

three separate but overlapping Classes under Rule 23 of the Federal Rules of Civil Procedure:1

    •    A Checkpoint Class pursuant to Rule 23(b)(3), represented by Plaintiffs Bonds, Evans,
         and Redden, defined as: All individuals who received a ticket or were arrested at a BPD
         “traffic safety” vehicle checkpoint on or after June 28, 2015.

    •    A Tinted Windows Class pursuant to Rule 23(b)(3), represented by Plaintiffs Franklin,
         Palmer and Yeldon, defined as: All Black and/or Latino individuals who received multiple
         tinted windows tickets from the BPD in a single traffic stop on or after June 28, 2015.

    •    A Traffic Enforcement Class pursuant to Rule 23(b)(2), represented by all individual
         Plaintiffs, defined as: All Black and/or Latino individuals who have been or will be sub-
         jected to traffic stops, traffic tickets, and “traffic safety” vehicle checkpoints by the BPD.

         Because Plaintiffs satisfy all of the requirements of Rule 23 as further set forth below, their

motion for class certification should be GRANTED.




1
 Although the three proposed classes are distinct, some individuals may be members of more than
one class. For example, a Black motorist who received four tinted windows tickets at a single
Checkpoint stop in 2015 and continues to drive in the City of Buffalo today, would be a member
of all three classes. Plaintiffs have simplified the class structure proposed in the Amended Com-
plaint. See ECF No. 63 ¶ 398.


                                                   3
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                     FACTS RELEVANT TO CLASS CERTIFICATION

I.     The City Maintained a Policy of Unlawful and Discriminatory Traffic Enforcement
       Relevant to the Checkpoints and Tinted Windows Classes

       A.      Commissioner Derenda Charged the Strike Force and Housing Unit with
               Carrying Out the Unconstitutional Practices

       In 2012, BPD Commissioner Daniel Derenda created the BPD Strike Force to “attack high

crime areas in the City of Buffalo” and strictly enforce Mayor Brown’s Zero Tolerance Crime

Policy. Exs. 2 37; 44. The Strike Force operated to “address Gang & Gun violence.” Ex. 41; see

also Ex. 111. From June 2012 to June 2014, Derenda personally assigned Strike Force patrol lo-

cations—mostly in Black neighborhoods on the East Side of Buffalo. 3 Exs. 8 (at 282:1-6); 49.

After June 2014, Strike Force lieutenants generally chose their own patrol locations. 4 Exs. 9 (at

21:13-22); 35 (at 18:2-15). Following Derenda’s pattern and model, the Strike Force usually pa-

trolled Black and Latino neighborhoods. Exs. 4 (at 41:16-42:2, 49:6-9); 6 (at 39:16-40); 24 (at

36:20-23); 34 (at 75:14-17); 140 (at 24).

       The BPD formed the Housing Unit under a contract with the Buffalo Municipal Housing

Authority (BMHA). Ex. 39 at 3-5. The Housing Unit and the Strike Force shared an office and a

command structure. Exs. 6 (at 26:17-21); 80. Rather than answering general calls for service, the

Housing Unit patrolled BMHA buildings and nearby streets. Exs. 8 (at 35:3-21); 28 (at 108:1-8).



2
  Citations to “Ex.” or “Exs.” refer to exhibits to the Declaration of Claudia Wilner unless other-
wise noted.
3
  Derenda created 24 target areas to facilitate assigning the Strike Force to different sectors of the
city. See Ex. 38.
4
  Lockwood (then Deputy Commissioner) and Chiefs Brinkworth and Young, who oversaw the
Strike Force and Housing Unit, testified that they did not routinely direct Strike Force patrol loca-
tions. Exs. 6 (at 39:7-9); 19 (at 117:2-11); 28 (at 59:12-19); 36 (at 26:4-6). Housing Unit Captain
Serafini, who also performed administrative duties for the Strike Force, did not set patrol locations
but sometimes passed on orders from his superiors to patrol in a certain place. Exs. 28 (at 59:12-
60:10); 36 (at 26:7-20). According to Lockwood, if the Chiefs or Captains did not set patrol loca-
tions, the Lieutenants would have done so. Ex. 19 at 117:2-11.


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The Housing Unit often focused on predominantly Black and Latino housing developments. Exs.

29 (at 107:6-109:20); 74 (at 4-6).

       Commissioner Derenda expected Strike Force and Housing Unit officers to produce large

numbers of traffic tickets and vehicle impounds as part of his proactive policing policy. Exs. 8 (at

36:6-17); 9 (at 150:13-18); 40. Derenda monitored both units via daily reports. Exs. 8 (at 104:15-

19); 9 (at 156:4-12). The reports listed patrol and checkpoint locations and tallied statistics includ-

ing vehicle impounds, cash and guns seized, traffic and city ordinance violations issued, and arrests

made. Exs. 9 (at 21:2-12); 36 (at 150:1-14); 128 (at 2-5). Derenda kept track of daily statistics,

which he emailed to the officers so they would know he was watching. Ex. 43 at 1-2. When officers

failed to produce enough tickets, Derenda pressured them to increase ticket numbers. Exs. 8 (at

102:19-104:10); 9 (at 156:13-159:5); 33 (at 257:8-12); 122 (at 1-6). Strike Force and Housing Unit

officers reported issuing large numbers of traffic tickets, far more than any other tracked activity.

Ex. 47 at 1-2; see, e.g., Ex. 128.

       B.      Policy and Practice of Conducting Suspicionless Vehicle Checkpoints in
               Black and Brown Neighborhoods

       As part of his proactive policing policy, Commissioner Derenda ordered Strike Force and

Housing Unit officers to run suspicionless vehicle Checkpoints. Ex. 9 at 259:21-261:10. The BPD

promulgated a formal policy governing such Checkpoints, Exs. 42; 125 (at 329-30), and the City’s

highest policymakers ratified the program. Exs. 7 (at 66:2-8); 9 (at 268:4-7). Strike Force and

Housing Unit officers conducted the Checkpoints in a uniform manner in accordance with the

Policy. Ex. 9 at 86:15-18, 171:13-172:2.5 Derenda expected the Strike Force to run checkpoints

every day, although some days might be omitted for weather, manpower, or other reasons. Exs. 9


5
  The proof at trial will be that the policy’s reference to “roadway safety” as a purpose of the
roadblock was pretextual, but the mechanics of checkpoint operation were in general as laid out in
the policy.


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(at 48:4-11); 59; 69; 70; see also Ex. 51. The number of Checkpoints ranged from one to five per

day. Krugman Dec. ¶ 68.

       Checkpoints were conducted in multiple stages. In the first stage, officers set up the Check-

point in a manner that funneled all nearby traffic through it. Exs. 9 (at 261:1-10); 33 (at 148:3-8);

42. Officers subjected every car to an initial detention without any individualized suspicion that a

crime or traffic violation had been committed. Exs. 6 (at 157:19-158:3); 9 (at 261:1-10); 33 (at

147:22-148:8). Officers checked for valid registrations, inspection stickers, seatbelts, and anything

suspicious in plain view. Exs. 9 (at 260:4-11); 33 (at 154:4-14); 42.

       In the second stage, BPD officers directed some drivers to pull over for a secondary stop

of up to an hour, during which officers subjected the driver and passengers to a longer interrogation

and sometimes issued tickets, made an arrest, and/or impounded the vehicle. Ex. 33 at 174:21-

177:23, 190:14-191:12. The Policy required officers to issue tickets for all traffic violations iden-

tified at Checkpoints; officers had no discretion to do otherwise. Exs. 9 (at 167:13-168:1); 42.

When ticketing outside of Checkpoints, though, officers could exercise discretion. Ex. 9 at 279:5-

20.

       As a matter of formal policy and widespread practice, the BPD erected the vast majority of

Checkpoints in Black and Latino neighborhoods. Exs. 4 (at 56:5-12); 8 (at 282:1-6); 24 (at 35:22-

36:4). From January 2013 to June 2014, when Derenda personally chose the Checkpoint locations,

78.1% took place in majority nonwhite neighborhoods; when the choice of location devolved to

Strike Force lieutenants, the number increased to 87.4%. Krugman Dec. ¶ 67.

       In the Spring and Summer of 2017, the Checkpoints became a political issue in the Mayoral

primary race, with challengers to Mayor Brown arguing in the news media and at public debates




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that the Checkpoints were racially discriminatory. See Exs. 62; 1346; 137. From March through

July 2017, Deputy Commissioner Lockwood took a more assertive role in establishing Check-

points, directing that some take place in crime hotspots and some take place on the West Side or

in North or South Buffalo. Exs. 59 (at 2-3); 62; 70 (at 2). During this time, in response to public

criticism, the Common Council twice requested the BPD disclose the Checkpoint locations, dates,

and times. Exs. 50 (at 2); 63 (at 4). The Commissioner did not comply with these requests. 7

       In July 2017, the BPD began running considerably more Checkpoints in majority white

neighborhoods in which it had rarely (if ever) conducted checkpoints previously;8 it provided the

newly manufactured Checkpoint locations to the news media and the Common Council. Exs. 65,




6
  Available at https://spectrumlocalnews.com/nys/central-ny/news/2017/06/22/buffalo--east-side-
-dorethea-franklin--byron-brown--mayor--taniqua-simmons--mark-schroeder--betty-jean-grant--
traffic--check-points--tickets--police; see also Aug. 7, 2017 Democratic Mayoral Debate,
https://www.wivb.com/news/watch-buffalo-mayoral-debate/; Sept. 6, 2017 Democratic Mayoral
Debate,      https://www.wbfo.org/local/2017-09-06/watch-listen-democratic-primary-debate-for-
buffalo-mayor.
7
  On May 5, 2017, the Common Council emailed Derenda to request disclosure of checkpoint
locations. Ex. 50 at 2. Three days later, Captain Serafini emailed Derenda a list of traffic check-
points conducted from January to May 7, 2017. See Ex. 51. Neither Derenda nor then-Deputy
Commissioner Lockwood recalled providing Serafini’s list to the Council. Exs. 8 (at 339:6-14);
19 (at 136:11-137-11). On July 25, 2017, the Common Council passed a formal resolution de-
manding that the Commissioner disclose the “location, frequency, and results” of Checkpoints for
the past three years. Ex. 52. The BPD had records of the location and frequency of Checkpoints,
Exs. 19 (at 136:11-137:11); 64 (at 2), but Derenda never gave them to the Council. Ex. 8 at 339:6-
14. Derenda told the Council that he did not have information on Checkpoint “records” and agreed
to provide data only going forward. Ex. 135 at 3-4.
8
  The numbers in Black and Latino neighborhoods fell from 87.4% prior to March 2017 to 26.4%
after July 2017. Krugman Dec. ¶ 67.


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137. Mayor Brown even appeared on television to thank the reporter for “presenting the infor-

mation that we gave to you, to show Checkpoints are throughout the city.” Ex. 136. 9 This subter-

fuge disseminated a false impression that the BPD had operated Checkpoints evenly across the

City.

         The BPD temporarily discontinued the Checkpoints program in November 2017 and dis-

solved the Strike Force in February 2018. Exs. 13 (at 182:11-14); 66; 127 (at 11); 130. The Check-

point Policy remains in the Manual of Procedures, and the BPD could activate the Policy at any

time. Exs. 13 (at 182:11-14); 127 (at 11).

         At Checkpoints during the Class Period (i.e., after June 28, 2015), the BPD issued at least

11,000 tickets to at least 3,000 individuals, resulting in at least $400,000 of damages from paid

traffic tickets alone (Krugman Dec. ¶ 37), with additional damages stemming from vehicle im-

pounds. Class members also lost time and freedom of movement and experienced the grave digni-

tary harms of racial discrimination and unlawful detention. Redden Dec. ¶¶ 5-6; Bonds Dec. ¶¶ 9-

11.

         C.     Policy and Practice of Issuing Multiple Tinted Windows Tickets to Black and
                Latino Drivers

         Plaintiffs also challenge the BPD’s policy and practice of issuing multiple tinted windows

tickets in a single stop. BPD officers issued such tickets at Checkpoints and during their regular

patrol activities—86.9% to Black and Latino drivers. Exs. 4 (at 82:6-10); 9 (at 278:1-18); Krugman

Dec. Ex. 13. From 2012 through 2022, BPD issued 38,364 such citations to Black and Latino

drivers, but only 5,800 to drivers of other races (7,718 to drivers whose race was not recorded).

Krugman Dec. Ex. 13.



9
  Available at https://www.wgrz.com/article/news/local/buffalo-mayor-answers-questions-about-
traffic-checkpoints/71-460311897.


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       Under New York law, each tinted window constitutes a separate legal violation. N.Y. Veh.

& Tr. Law 375(12-a)(b). BPD officers thus had discretion to issue four or more tinted windows

tickets in a single stop, Exs. 1 ¶¶ 294-295; 9 (at 297:5-20); 27 (at 183:7-20), and they exercised

this discretion to issue multiple tinted windows tickets at significantly greater rates to Black and

Latino drivers, who accounted for 11,459 of the 13,133 multiple-tinted-window incidents in which

driver race could be determined (87.3%). Krugman Dec. Ex. 13. The disparity is all the more

striking given that, prior to 2013, Black and Latino drivers who received tinted windows tickets

were only slightly more likely than other drivers to receive multiple tickets, and these differences

were not statistically significant after controlling for driver age and time of day. Ex. 1 ¶ 299 &

Table 14. After the advent of the Strike Force, however, Black and Latino drivers were signifi-

cantly more likely than other drivers to receive multiple tinted-windows tickets. Id.

       Commissioner Derenda not only knew about the BPD’s tinted windows ticketing practices,

but he expected multiple ticketing to occur as a byproduct of his proactive policing policy. Ex. 8

at 128:11-17. Despite setting these expectations, Derenda knew issuing multiple tinted windows

tickets was excessive and wrong; he believed officers should issue no more than one per stop. Ex.

9 at 288:3-12. In 2017, Derenda made an ineffective, informal attempt to limit multiple tinted

windows ticketing to one per stop. 10 As a result, Captain Serafini directed Strike Force and Hous-

ing Unit officers to issue just two tinted windows tickets (note: not one) per stop, Ex. 81 at 2, but




10
   Derenda testified that he verbally instructed Strike Force Chief Aaron Young to ensure that
officers issued only one tinted window ticket per stop. Ex. 8 at 133:21-134:5. He did not check to
see if his directive was followed. Ex. 9 at 286:8-21. Chief Young testified that he did not discuss
the tinted window policy change with Derenda and did not recall issuing such an order. Ex. 36 at
92:1-5. Derenda also testified: “We never removed the discretion. . . . V&T allows them to write
multiple tickets for multiple windows and, again, currently today it is their discretion on traffic
stops how many tickets they write for violations. It’s a discretion they still have and they had under
my command.” Ex. 9 at 280:5-21.


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officers continued to issue as many as four per stop, Krugman Dec. ¶ 60. Officers either did not

receive Derenda’s message or viewed it as informal and thus nonbinding. See, e.g., Exs. 18 (at

75:18-23); 21 (at 173:17-22); 32 (at 102:18-21); 34 (at 74:9-14). Derenda made no effort to enforce

the limitation, Exs. 8 (at 248:23-249:4); 9 (at 286:8-21), and multiple tinted windows ticketing

continued apace. Krugman Dec. ¶ 60.

       Derenda’s successor, Commissioner Lockwood, similarly knew that officers routinely is-

sued multiple tinted windows tickets in a single stop, but he chose not to order an end to the prac-

tice. Ex. 19 at 72:8-19. He believed that officers had a right to issue multiple tickets, even though

he personally disdained the practice, because NY traffic law permitted it. Id. at 71:18-72:7, 73:9-

22. Lockwood, and his successor Gramaglia, allowed multiple ticketing of Black drivers to con-

tinue even after the practice was exposed in The Buffalo News, and after the filing of the Complaint

and Amended Complaint in this matter, which detailed the racial disparities generated by the

BPD’s tinted windows ticketing practices. See ECF Nos. 1, 63; also Exs. 13 (at 81:21-82:1); 19

(at 220:4-12); 138 (at 2-4).

       In the Class Period, at least 6,266 distinct Black and Latino drivers received tinted windows

tickets in incidents where more than one such ticket was given. Krugman Dec. ¶ 57. They have

paid the City of Buffalo at least $515,837 on account of such tickets. Id. ¶ 58.

II.    Formal City Policies Promoted Ticketing for Profit and Created Financial Incen-
       tives for BPD Officers to Issue Traffic Tickets

       Throughout Mayor Brown’s tenure, the City experienced significant financial pressure.

Exs.11 (at 25:19-22); 105 (at 3-5). The City had to maintain a balanced budget by charter. Exs. 11

(at 22:6-11); 105 (at 2). At times, expenditures exceeded revenues, yet Mayor Brown refused to

raise property taxes. Ex. 11 at 23:13-21, 25:19-22. The City had to find other forms of revenue and




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identified traffic and parking enforcement as a revenue generator. Id. The BPD and Parking De-

partment generated revenue through ticketing, impounding and auctioning vehicles, and issuing

parking violations. Ex. 17 at 71:6-75:18, 257:11-16.

       From the beginning, City policymakers tracked the Strike Force’s capacity to generate rev-

enue. See, e.g., Exs. 53 (at 2); 110 (at 2); 115; 121. In 2013, coinciding with the launch of the

Strike Force, the City invested in a computerized ticketing technology called TraCS. Ex. 48 at 7.

TRaCS facilitated multiple ticketing by pre-filling many fields in the ticket, allowing officers to

issue five tickets as quickly as one. Ex. 8 at 121:21-122:16. At around the same time, the City

invested in Automatic License Plate Readers (ALPRs). Ex. 91. Mounted to a patrol vehicle, the

ALPR instantly identifies registration and other ownership-related violations not readily apparent

to the human eye, allowing officers to generate more tickets and impounds—and thus more reve-

nue. Exs. 6 (at 80:2-4, 81:7-14); 17 (at 50:3-51:21); 91.

       The City then developed a plan which would allow it to reap even more revenue from

traffic enforcement. Historically, the NYS Department of Motor Vehicles (DMV) handled the ad-

judication of traffic violations issued in Buffalo. Ex. 71 at 2. Under this system, the State retained

much of the ticket revenue. Exs. 7 (at 18:9-19:7); 22 (at 22:8-12). In 2014, however, the Buffalo

Common Council and NYS legislature worked together to establish the Buffalo Traffic Violations

Agency (BTVA) to “provide fiscal relief to City government and taxpayers.” Ex. 141 at 3. Adju-

dicating tickets through the BTVA allowed the City to keep most of the revenue from traffic tickets

within the City instead of sending it to the State. Exs. 11 (at 59:4-9); 72 (at 9); 73 (at 13).

       Launched in July 2015, the BTVA is a City agency operated under the direction and control

of Mayor Brown. Exs. 7 (at 15:7-17); 22 (at 19:1-4); 71 (at 2). According to the City’s 2017-18

Executive Budget, one of the official goals of the BTVA is to “Generate revenue.” Ex. 56 at 42.




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Because ticket revenue far outstrips the BTVA’s operational expenses, the more tickets the BPD

issues, the more profit the City makes. Exs. 11 (at 177:2-14); 22 (at 135:4-7); 99 (at 2); 142 (at 35-

39).

        The City deliberately encouraged officers to issue more tickets in two ways. First, the City

trained incoming police recruits that one of the purposes of traffic enforcement is to generate rev-

enue. Exs. 19 (at 51:22-52:3); 45 (at 5); 57 (at 3). Second, the City’s overtime structure operated

as a powerful personal incentive to officers to issue more tickets. See, e.g., Exs. 8 (at 244:1-9); 18

(at 96:10-13); 27 (at 254:7-10); 46 (at 2). From the BPD Commissioner on down, BPD supervisors

communicated to officers that continued overtime opportunities depended on “results,” measured

most concretely in tickets and impounds, and that good “numbers” would lead to more overtime

opportunities. Exs. 8 (at 246:5-18); 25 (at 259:8-19); 27 (at 245:22-247:19); 33 (at 294:5-15); 58;

see also Ex. 46 at 2. As the Commissioner himself recognized, these production expectations

caused officers to “pad their numbers” through multiple ticketing. Ex. 9 at 281:1-11. Ticketing

also gave officers opportunities to enlarge their salaries through “court time”—four hours of pay

earned simply for showing up in court to defend a ticket. Ex. 4 (at 99:8-21); see also Ex. 127 at

12. Court time and overtime substantially increased officers’ paychecks—and their pension bene-

fits. Exs. 8 (at 244:7-9); 18 (at 96:10-13); 25 (at 29:8-12); 28 (at 29:12-20); 33 (at 51:2-13). Thus,

the system created powerful financial incentives for officers to ticket heavily to secure and justify

overtime opportunities. Exs. 6 (at 89:9-23); 27 (at 254:7-10); 88 (at 2).

        The City’s incentive strategy worked. Almost immediately after the BTVA’s launch, the

BPD began to issue many more traffic violations than ever before. During the 2015-16 fiscal year,

BPD issued 54,960 traffic violations, a 31.5% increase over the previous year. Krugman Dec. ¶ 69.

The following year it increased again, to 58,645. Id. Revenue from traffic fines hit $3,993,940 in




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the 2016-2017 fiscal year, compared to $503,494 in 2013-2014 before the creation of the BTVA.

Exs. 76 (at 5); 133 (at 5). Over the same period of time, the City appropriated more money to BPD,

and BPD spent increasing amounts on overtime. Exs. 75 (at 8); 78 (at 9); 131 (at 4); 139 (at 8-9).

        Over the years, City policymakers continued to focus on maximizing the revenue-raising

function of the City’s traffic enforcement efforts. For example, when BTVA revenues temporarily

slowed in 2017, Commissioner Kevin Helfer expressed concern: “Money is way down. We have

to get to the bottom of this.” Ex. 109. At a November 2018 meeting of the Buffalo Common Coun-

cil’s Finance Committee, Donna Estrich, the City’s Commissioner of Administration and Finance,

told the Council: “Traffic violations is below budget, and you know, we’re working with police.

They just created a new traffic detail and put that out.” In response, a finance committee member

stated “[w]hen you’re mining for gold, it’s good to know that there’s gold in the well, and there’s

plenty of gold there to be digging for.” 11

III.    The City’s Own Data Reveal Shocking Racial Disparities in the BPD’s Traffic En-
        forcement Practices

        Plaintiffs’ data expert, Dr. David Bjerk, performed a statistical analysis of the BPD’s traffic

ticketing practices from 2012-22.12 Ex. 1 ¶¶ 11-14. He found that, across the period, Black and

Latino drivers received approximately 75% of citations, even though they accounted for only half

of Buffalo’s population. Id. ¶ 15. Relative to their proportion of the population, Black and Latino

drivers were thus ticketed at 3.2 times the rate of other drivers. Id. The differences are statistically

significant and exist throughout the period studied. Id. ¶¶ 23, 269-273 & Table 11. Black and La-

tino drivers were also significantly more likely to receive multiple tickets per stop, in general and



11
   Common Council Committee on Finance (Nov. 7, 2018), https://buffalony.iqm2.com/Citi-
zens/SplitView.aspx?Mode=Video&MeetingID=1579, at 4:45, 7:44.
12
   This was the most recent data available at the time Dr. Bjerk performed his analysis. Dr. Bjerk
has reserved the right to supplement his report with 2023 data. Ex. 1 at n.1.


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with respect to tinted windows tickets in particular. Id. ¶¶ 30, 286-99 & Tables 13 &14. These

disparities occur even though the BPD has “no data to suggest” that Black drivers commit more

traffic violations than white drivers. Ex. 13 at 203-206, 207.

       Dr. Bjerk also found significant racial disparities in where the BPD issued tickets. In early

2012, the BPD issued tickets in high- and low-Minority neighborhoods at similar rates. Ex. 1 ¶ 183

& fig. 3a (10.63 vs. 8.44). But from July 2012-June 2015, BPD issued 4.4 times as many tickets

in the highest-Minority neighborhoods as in the lowest-Minority neighborhoods. Id. ¶ 184 & fig.

3a (65.19 vs. 14.76). This rate rose to five times as many tickets (for all violations) from July 2015

to January 2018. Id. ¶ 185 (109.86 vs. 21.96). During the 2015–18 period, the BPD issued more

than six times as many non-moving citations in the highest-Minority neighborhoods as it did in

the lowest-Minority neighborhoods. Id. ¶ 191 & fig. 3c (93.69 vs. 14.54).

       Dr. Bjerk performed a separate analysis of incidents in which BPD stopped motorists but

did not issue a ticket. Id. ¶¶ 300-310. Since 2020, the BPD conducted three times as many stops in

the district with the highest Minority population as it did in the lowest, with stops based on pur-

ported equipment violations or failure to use a turn signal accounting for a disproportionate share

of stops in high-Minority neighborhoods. Id. ¶ 302 & Table 15. Dr. Bjerk found the same dispari-

ties when he performed the analysis by race of driver (Black and Latino drivers were stopped more

than twice as often as other drivers). Id. ¶ 303.

IV.    Under Monell, the City Is Responsible for Ongoing Unlawful and Discriminatory
       Traffic Enforcement

       A.      The City Has Long Been on Notice that BPD Officers Engage in Racially Dis-
               criminatory Traffic Enforcement

       From 2013 to the present, Mayor Brown and Commissioners Derenda, Lockwood, and

Gramaglia have received a steady stream of complaints from the public via town halls, forums,

reports and the media that BPD officers were and are engaging in racially discriminatory policing


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and traffic enforcement. For example, Brown and Derenda read a 2016 article in The Public ex-

posing the BPD’s concentration of Checkpoints on the East Side practices. See Ex. 2 at § I.B. In

2017, then-SUNY Buffalo Law Professor Anjana Malhotra and Cornell Law School documented

and publicized the BPD’s widespread, discriminatory checkpoints, traffic enforcement, and other

practices. Anjana Malhotra, Unchecked Authority without Accountability in Buffalo, New York:

The Buffalo Police Department’s Widespread Pattern and Practice of Unconstitutional Discrimi-

natory Policing, and the Human, Social and Economic Costs, 2-3 (2017); see Ex. 2 at § II. A

subsequent report and survey of 2000 residents by Partnership for the Public Good found pervasive

distrust; only 12 percent of Black people surveyed agreed that the BPD respected people of color.

Ex. 3 at 30. The Buffalo Police Advisory Board also conducted numerous hearings and issued a

report concerning racism and white supremacy within the BPD. See, e.g., Ex 2 at § I.B.

       In addition, from 2012 to the present, at least 73 people complained to IAD of racial dis-

crimination in the context of traffic enforcement. Ex. 2, Appendix C. In recent years, at least 110

people have filed lawsuits and notices of claim, many alleging that BPD engaged in civil rights

violations, including racial bias. Id. at § III.B.2; Ex. 145. And numerous judicial decisions have

found that BPD officers engaged in unconstitutional traffic enforcement. Id. at § III.B.2.

       Moreover, racial discrimination and bias have long been embedded within the BPD’s po-

licing and traffic enforcement practices—a problem that continues to this day. For example, former

BPD lieutenant Thomas Whelan testified that BPD officers routinely used the n-word when deal-

ing with Black members of the public (for which they never received discipline)—a practice that

has resurfaced in numerous complaints that the BPD largely disregarded, Ex. 2, Appendix C, and

in 2022 when BPD Captain Amber Beyer launched a racist rant in front of her subordinate team

members. Ex. 2 at § II. Beyer asserted, among other things, that white officers develop PTSD from




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working on the East Side of Buffalo and that she would be suspicious of a Black man walking

through her neighborhood. Id. BPD officials also expressed racial bias in their statements and

emails. Id. at § V.B. Plaintiffs’ historical expert, Prof. Robert Silverman, situates the BPD’s polic-

ing practices within a larger and continuing history of racial discrimination intentionally perpe-

trated by the City against its Black residents through racial segregation in housing and education

and documented patterns of discriminatory policing, including racially biased traffic enforcement.

Ex. 3.

         Mayor Brown well knows that racial discrimination plagues the Buffalo Police Depart-

ment. In 2020, he reported to the Menino Survey of Mayors that police treatment of White people

in his city is “somewhat better” than police treatment of Black people. Ex. 126 at 19, 34. When

asked his opinion on whether certain factors contributed to police violence in his city, he indicated

that “racism on the police force” had contributed “a moderate amount.” Id. at 20, 35.

         B.     The City Has Failed to Act to Prevent Officers from Engaging in Racially
                Discriminatory Traffic Enforcement

         Faced with innumerable warnings and obvious signs that racial discrimination plagues the

BPD’s traffic enforcement practices, the City has failed to address the problem.

                1.     The Disciplinary Catch-22

         Three successive BPD Commissioners have maintained a disciplinary Catch-22 that pre-

vents the BPD from identifying and correcting racially discriminatory conduct. Eschewing basic

accountability measures (such as early warning and internal audit systems) employed in other ju-

risdictions to reduce the risk of racially biased policing, these Commissioners all maintained that

they could not and cannot address racial discrimination other than by investigating individual IAD

complaints. Exs. 2 (at Summary of Findings & VI); 8 (at 293:16-294:9); 13 (at 38:6-21, 119:4-17,

204:11-207:10); 19 (at 230:15-231:12). However, when people complained to IAD about racial



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discrimination they endured, the investigations were fundamentally ineffective, and the discipli-

nary process always resulted in a finding in favor of the officer on the racial bias allegation. Ex. 2

at Summary of Findings. BPD policy further requires considering each complaint in isolation, so

the BPD never detects patterns of discriminatory behavior. Exs. 2 (at III.E); 8 (at 452:17-453:3);

13 (at 103:3-18). This paradoxical approach to accountability and discipline has caused racially

discriminatory policing to persist, unchecked.

               2.      Lack of Written Anti-Discrimination Policy

        Until May 2021, the BPD had no formal written policy prohibiting racially biased policing.

Four years after the filing of this lawsuit, the BPD updated its Manual of Procedures to prohibit

racial discrimination in traffic enforcement. But the BPD still does not have a general policy pro-

hibiting racially discriminatory policing, including the use of racial slurs and racially derogatory

language, departing from well settled police practices. Ex. 2 at § II.

               3.      Failure to Monitor

        The BPD has failed to take basic measures to monitor officers’ compliance with anti-dis-

crimination law. For example:

   •    BPD leadership has never gathered or reviewed statistical data to ascertain whether BPD
        operated the Checkpoints or engaged in multiple tinted windows ticketing in a racially
        discriminatory manner. Exs. 8 (at 132:19-23, 265:5-266:16); 19 (at 36:14-19).

   •    The BPD does not require officers to record the race and ethnicity of people ticketed, even
        though the BPD has the capability to do so. Exs. 13 (at 210:12-21); 127 (at Requests 31-
        32). Commissioner Lockwood did not think it was important to be able to identify racial
        disparities in the BPD’s ticketing practices. Ex. 19 at 241:8-13, 243:6-10. Commissioner
        Gramaglia does not audit for racial disparities because “we conduct traffic stops based on
        constitutional policing.” Ex. 14 at 43:8-9. Without collecting race data, the BPD cannot
        measure and assess racial disparities in ticketing.

   •    Since June 2020, the BPD has required officers to issue stop receipts to people stopped but
        not ticketed and to record the race of the person stopped. Exs. 2 (at § VI.F); 14 (at 44:16-




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          22, 155:8-17, 157:6-12). However, officers do not enter a race 20% of the time, and Com-
          missioner Gramaglia has not attempted to improve compliance. 13 Exs. 1 (¶ 300); 14 (at
          158:3-11). To the contrary, Gramaglia is satisfied when officers consistently record the
          race of people stopped as “unknown.” Ex. 14 at 163:9-164:22.

     •    To the extent that officers record race on stop receipts, Gramaglia does not audit this data
          for trends to uncover patterns of racially biased traffic stops. Ex. 14 at 164:23-165:4. When
          confronted by media reports exposing racial disparities, Gramaglia saw no need to investi-
          gate further. Exs. 2 (at § VI.F); 13 (at 203:1-207:10).

     •    The BPD does not collect information about the racial demographics of IAD complainants,
          although it could do so. Exs. 8 (at 289:21-290:9); 19 (at 244:22-245:1). The BPD has never
          assessed whether a disproportionate number of racial discrimination, rudeness, discourtesy,
          and poor service complaints come from Black and Latino individuals. Id.

     •    The BPD could use its IAPro computer system to audit, track, and monitor racial discrim-
          ination complaints against officers, but it does not do so other than minimal compliance
          with the New York Executive Law 75(5)(a). Exs. 2 (at § VI.C); 13 (at 185:22-186:9).

     •    The BPD could audit body camera footage to assess whether officers treat civilians with
          respect and in a nondiscriminatory manner. Ex. 2 at § VI.D-E. However, the Commissioner
          contracted with the police union that it would not do so. Exs. 2 (at § VI.E); 79 (at -023).

In sum, the BPD has taken no affirmative steps to identify, measure, and reduce racial disparities

in traffic enforcement or racially discriminatory conduct of officers, despite receiving voluminous

complaints about such conduct. Exs. 2 (at §§ I, V.A); 6 (at 129:7-130:15); 8 (at 293:16-294:14); 9

(at 268:17-273:12); 19 (at 102:12-20, 230:9-231:22, 241:8-14); 28 (at 67:1-5); 36 (at 80:6-81:5).

                 4.      Failure to Supervise

          The BPD has failed to supervise officers to ensure that they do not engage in racially dis-

criminatory conduct. Basic supervision failures include the following:

     •    The BPD has not conducted performance evaluations of officers. Exs. 2 (at § VI.A); 13 (at
          182:15-183:1); 18 (at 191:21-192:1); 25 (at 131:8-10); 26 (at 80:7-9, 95:2-5); 28 (at 63:1-
          10); 33 (at 68:22-69:10). Since 2013, officers have received no feedback on the quality of
          their work. Exs. 2 (at § VI.A); 18 (at 191:21-192:6); 26 (at 80:10-15). Though the City


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   Nor has Commissioner Gramaglia ensured that officers issue stop receipts at all. For example,
Lt. Miller, who has received multiple traffic enforcement complaints, testified that he does not
issue stop receipts in half of his stops. He conditioned his issuance of a stop receipt on drivers
being polite and non-argumentative during the stop. Ex. 21 at 321:21-323:6.


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          Charter gives the Commissioner authority over supervision of officers, Buffalo City Char-
          ter, Article 13 § 4 (2019), the City and Commissioner have adopted the legally incorrect
          position that the collective bargaining agreement supersedes the City Charter. Exs. 7 (at
          168:14-178:12); 13 (at 182:15-183:1); 14 (at 111:19-113:15); 19 (at 246:12-247:6).14

     •    The BPD bargained away the right to use body worn camera footage to enhance supervi-
          sion of officers. Exs. 2 (at § VI.E); 79.

     •    BPD supervisors have shirked their responsibility to report and address racially biased con-
          duct and complaints and have used such language themselves. Ex. 2 at § V.C.

     •    IAD complaints are often disposed by sending the officer to an informal conference with a
          Chief or Deputy Commissioner instead of imposing formal discipline, thus squandering a
          potential training or supervision opportunity. Exs. 2 (at § III.E.6); 19 (at 262:16-263:10);
          20 (at 51:13-23); 26 (at 67:9-16). The BPD makes no record of the content of conferences,
          does not inform the officer’s direct supervisor of the subject matter, and has no mechanism
          for following up to assess whether the officer’s behavior improves after the conference.
          Exs. 13 (at 96:2-7, 113:16-119:17); 19 (at 265:12-270:2); 26 (at 255:13-21).

     •    When a complaint is filed against an officer, the officer’s direct supervisor is not informed
          of the nature of the complaint or its resolution and thus cannot learn what behavior needs
          close monitoring or ensure that the officer does not reoffend. Exs. 2 (at § III.F); 24 (at
          123:6-19, 124:16-125:3); 28 (at 172:5-17).

                 5.      Failure to Investigate

          Police practices expert Michael Gennaco reviewed and analyzed 73 complaint files involv-

ing racial discrimination and identified the following investigative failures:

     •    The BPD’s complaint intake system departs from accepted industry standards and, fre-
          quently, its own rules. The BPD creates unreasonable barriers to filing a complaint, includ-
          ing not having a publicized, online complaint mechanism and failing to ensure that super-
          visors accept complaints. BPD also fails to investigate misconduct allegations from news
          sources, civil lawsuits, and judicial decisions. Ex. 2 at §§ III.A–B.

     •    Contrary to BPD’s own rules, untrained field level command staff often handled racial bias
          investigations—depriving the BPD of any real opportunity to identify and address racially
          biased policing. Id. at § III.C.



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   The City and BPD Commissioner agreed that the union contract prevented the Commissioner
from conducting performance evaluations unless explicitly authorized. Ex. 13 at 182:15–183:1
Not until December 2023 did the City obtain such a contract. But the current agreement allowing
performance evaluations hamstrings the City’s supervision by providing that they cannot be used
for discipline or promotion. Ex. 2 at § VI.A.


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   •    The BPD failed to conduct “thorough and complete” investigations into racial bias allega-
        tions and sometimes did not investigate allegations of racial profiling or discrimination at
        all. BPD repeatedly failed to scope violations of BPD’s traffic enforcement policy, which
        led to no investigation into these violations at all. Id. at §§ III.D.1–4.

   •    BPD repeatedly failed to pursue investigative leads, interview witnesses, and obtain video
        and other evidence. Investigators often failed to comply with standard interview proce-
        dures. Target officers’ interviews, if they occurred, were short, incomplete, and included
        leading questions. Complaint files often did not include a recorded statement from the com-
        plainant, officers, or witnesses. Files contained inaccurate or no summaries of body worn
        camera footage—even though the Commissioner relies on the summaries in lieu of watch-
        ing the footage. In some instances, the officers’ body-worn camera footage was cut off or
        missing entirely without explanation. Id. at §§ III.D.5–8.

   •    Complaint files lack analysis of the evidence collected during the investigations. In many
        cases, BPD relied on an officer’s reputation to dismiss the allegations. Investigators dis-
        paraged complainants and relied on their criminal histories to impugn their credibility and
        bolster the credibility of officers, including findings that officers should be exonerated.
        These comments demonstrate a mindset predisposed against the complainant as opposed
        to allowing the facts and evidence developed through the investigative process to determine
        the outcome. Id. at §§ III.C.2, III.E.2.

        Gennaco concluded that the BPD’s complaint investigation system is fundamentally bro-

ken and falls far below accepted industry practices. Without a properly functioning investigative

process, BPD cannot detect and address instances of racially biased policing. Id.

               6.      Failure to Discipline

        The BPD has never issued formal discipline against an officer for engaging in racially dis-

criminatory policing; for subjecting Black and Latino motorists to wrongful search and seizure;

for failing to treat civilians with courtesy and respect; or for not recording the race of people given

stop receipts. Exs. 2 (at § III.G, Appx. C); 13 (at 232:18-233:14); 14 (at 163:19-23); 19 (at 256:2-

19, 258:5-14); 33 (at 400:11-16). All of this conduct violates the Manual of Procedures (including

the Traffic Enforcement Policy), along with federal and state constitutional law and Section 13-21

of the Buffalo City Charter (in the case of stop receipts), and therefore could form the basis for

discipline. Exs. 124; 125.




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                 7.    Failure to Train

       The City has failed adequately to train officers on racial discrimination, racial bias, racial

profiling, and discriminatory policing. Until very recently, BPD officers received no anti-discrim-

ination training outside of their initial brief course in the academy, and BPD officers received

training with an erroneous definition of racial bias. Ex. 2 at § IV. When asked, officers could not

define racial discrimination or racial profiling. Exs. 10 (at 73:7-21); 18 (at 213:8-16, 230:12-

231:7); 31 (at 174:20-175:2). Officers also testified incorrectly that if there were probable cause

for a traffic stop, it could not be the result of racial profiling. Exs. 6 (at 127:12-128:10); 21 (at

211:8-212:16).

       To this day, the BPD fails to provide training to supervisors on identifying and correcting

racially discriminatory behavior by officers or on responding to civilian complaints of discrimina-

tion, rudeness, discourtesy, or poor service. Ex. 2 at § IV.B. Similarly, IAD lieutenants and cap-

tains receive no training on how to investigate complaints of racial discrimination. Id.; Exs. 20 (at

78:17-79:17); 23 (at 23:12-24:3, 25:20-26:5).

       Although the BPD updated its Traffic Enforcement Policy in May 2021 to prohibit racially

biased traffic enforcement, the BPD did not train officers on the updated policy. Exs. 2 (at

§ III.D.3); 14 (at 20:11-22:9); 124. Rather, BPD leadership delivered the revisions through a com-

puterized update system under which BPD officers merely acknowledged receipt of the policy.

Ex. 14 at 17:22-18:16, 21:21-22:1. In contrast, when the BPD launched a body worn camera pro-

gram, it provided extensive training to officers, because BPD leadership recognized that in the

absence of training, officers would not know and follow the policy. Ex. 13 at 60:9-61:1.

       In recent years, under Commissioner Gramaglia, the BPD began offering updated implicit

bias training to officers. Ex. 2 at § IV. However, BPD has no mechanism for ensuring that officers

retain the concepts taught. Id.


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V.     City Data and Recordkeeping

       The City maintains data and recordkeeping that easily permits identification of class mem-

bers and calculation of damages. Members of the Checkpoints and Tinted Windows classes can be

identified using the procedures described in the Krugman Declaration. The City maintains elec-

tronic records of tickets, tows, and impounds that Plaintiffs can use to identify financial harms

suffered by individual class members. This data includes:

       (i) substantially all traffic tickets issued by the Buffalo Police Department, including rec-
       ords and data indicating the identity of the motorist who received the traffic ticket, the
       disposition of the traffic ticket, the amounts paid on the traffic ticket (if any), and the
       amounts still owed on the traffic ticket; and (ii) substantially all tows and impounds by the
       City of Buffalo, including the license plate number of the vehicle, the date of the impound,
       the duration of the impound, whether the vehicle was released, sold or auctioned, the
       amount assessed for towing or storage fees, the amount paid from any source, and the
       amounts owed.

Exs. 127 (at Request 38); 129. If the damages classes are certified and Plaintiffs prevail on liability,

the City can produce this data to facilitate calculating damages owed to class members. Id.

VI.    Proposed Class Representatives

       Named Plaintiffs Shaketa Redden, Dorethea Franklin, Taniqua Simmons, De’Jon Hall, Jo-

seph Bonds, Charles Palmer, Shirley Sarmiento, Ebony Yeldon, and Jasmine Evans are Black in-

dividuals who drive in the City of Buffalo, often in predominantly Black and Latino neighbor-

hoods, and intend to do so in future. Ms. Franklin, Mr. Palmer and Ms. Yeldon all received multiple

tinted windows tickets in a single stop after June 28, 2015. Mr. Bonds, Ms. Evans, and Ms. Redden

all received tickets at a BPD Checkpoint on or after June 28, 2015. In addition, Ms. Franklin, Ms.

Simmons, and Mr. Hall passed through BPD Checkpoints but did not receive tickets within the

class period. All of these individuals experienced the BPD Checkpoints as an abuse of power and

authority directed at the Black and Latino people of Buffalo and as an unreasonable restriction on

their privacy and freedom of movement. See Class Representative Declarations.



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                                            ARGUMENT

       Class certification is mandatory where plaintiffs satisfy all prerequisites of Rule 23(a) and

one of the subsections of Rule 23(b). Shady Grove Orthopedic Assoc., P.A. v. Allstate Ins. Co.,

559 U.S. 393, 398-400 (2010). Here, Plaintiffs seek certification of two damages classes pursuant

to Rule 23(b)(3) and one injunctive class pursuant to Rule 23(b)(2). Because each proposed Class

meets the elements of Rule 23(a) and (b), this Court should grant Plaintiffs’ motion.

I.     THE PROPOSED CLASSES SATISFY THE REQUIREMENTS OF RULE 23(A)

       The Rule 23(a) criteria are that: (1) the class is so numerous that joinder of all members is

impracticable; (2) there are questions of law or fact common to the class; (3) the claims or defenses

of the representative parties are typical of the claims or defenses of the class; and (4) the repre-

sentative parties will fairly and adequately protect the interests of the class.

       A.      The Proposed Classes Satisfy the Numerosity Requirement

       The proposed classes satisfy the requirement that a class be “so numerous that joinder of

all members is impracticable.” Fed. R. Civ. P. 23(a)(1). “Impracticable” means that individual

adjudication of all claims would take an extended period of time and be “expensive, time-consum-

ing, and logistically unfeasible.” In re Drexel Burnham Lambert Grp., Inc., 960 F.2d 285, 290 (2d

Cir. 1992).

       Courts in this Circuit regularly find that the numerosity requirement is met for groups of

more than 40 members. See Consol. Rail Corp. v. Town of Hyde Park, 47 F.3d 473, 483 (2d Cir.

1995); M.O.C.H.A. Soc’y, Inc. v. City of Buffalo, 2008 WL 343011, at *3-4 (W.D.N.Y. Feb. 6,

2008) (89 members “undoubtedly” represents a large enough number). Plaintiffs need not provide

evidence of exact class size or identity of class members to meet the numerosity requirement.

Robidoux v. Celani, 987 F.2d 931, 935 (2d Cir. 1993). Plaintiffs must only show “some evidence




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of” or “reasonably estimate” the number of class members. Id. And “numerosity must be recog-

nized” where a proposed class includes “future members who are necessarily unidentifiable.” J.S.

ex rel. N.S. v. Attica Cent. Sch., 2006 WL 581187, at *4 (W.D.N.Y. Mar. 8, 2006).

       Each of the proposed classes contains well over the 40-member threshold where numer-

osity is presumptively satisfied. The Checkpoint Class contains at least 3,000 members. Krugman

Dec. ¶¶ 35, 36, 53. The Tinted Windows Class contains in excess of 6,000 individuals. Id. ¶ 57.

The Traffic Enforcement Class contains many more than 10,000 current members. Id. ¶ 64. In

addition, this class contains members who will be subjected to traffic stops, traffic ticketing, and

“traffic safety” vehicle checkpoints by the BPD in the future. Numerosity therefore must be rec-

ognized for this class, as these future class members are “necessarily unidentifiable” at this time.

Attica Cent. Sch., 2006 WL 581187, at *4.

       Joinder of so many thousands of individual class members’ claims would be not merely

impracticable but impossible. Adjudicating such claims individually would strain judicial re-

sources past the breaking point, take many years, and multiply legal expenses for all parties. Plain-

tiffs’ proposed classes therefore satisfy the numerosity requirement under Rule 23(a)(1).

       B.      The Proposed Classes Satisfy the Commonality Requirement

       Rule 23(a)(2) requires that there be “questions of law or fact common to the class.” Class

members’ claims “need not be identical for them to be common.” Barrows v. Becerra, 24 F.4th

116, 131 (2d Cir. 2022). Rather, the claims need only generate common answers that apply class-

wide to resolve the litigation. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011); see also

Becerra, 24. F.4th at 131. Plaintiffs need only demonstrate a “single common question.” Wal-

Mart, 564 U.S. at 359.

       In this Circuit, Rule 23 is given a “liberal rather than restrictive” construction. Marisol A.

v. Giuliani, 126 F.3d 372, 377 (2d Cir. 1997). So long as “the same unlawful conduct [is] directed


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at or affect[s] both the named plaintiff and the class,” the commonality requirement is generally

met “irrespective of minor variations in the fact patterns underlying individual claims.”

McCracken v. Verisma Sys., Inc., 2017 WL 3187365, at *3 (W.D.N.Y. July 27, 2017) (citing Robi-

doux, 978 F.2d at 936-37); see also Marisol A., 126 F.3d at 377 (affirming class certification where

plaintiffs’ alleged injuries “derive[d] from a unitary course of conduct” within a single state’s child

welfare scheme). Where all class members (1) share the same kinds of claims that (2) arise out of

the same defendants’ (3) same conduct or practice, “there is a common question.” Becerra, 24

F.4th at 131.

                1.     The Checkpoint Class

        The Checkpoint Class seeks damages on behalf of people who received a ticket or were

arrested at a BPD “traffic safety” vehicle on or after June 28, 2015. Members of the Checkpoint

Class share key, common questions of fact and law. These include, among others:

   •    First, whether the Checkpoint Policy subjects the municipality to Monell liability, which
        asks: (i) whether the Policy was a formal policy, practice, or custom of the City of Buffalo;
        (ii) whether Defendants demonstrated deliberate indifference by failing to supervise, mon-
        itor, investigate, train, and discipline officers who operated the Checkpoints; (iii) and
        whether such policies, customs, practices, and/or deliberate difference were the moving
        force behind Plaintiffs’ injuries;

   •    Second, whether the Checkpoint Policy violated class members’ Fourth Amendment rights,
        which asks: (i) whether Defendants established and conducted Checkpoints for the primary
        programmatic purposes of general crime control and/or revenue harvesting; (ii) whether
        Defendants’ professed “traffic safety” rationale for the Checkpoint Policy was merely a
        pretext to conduct routine traffic stops without individualized suspicion or probable cause;
        (iii) whether the Checkpoint Policy complied with the requirements the Supreme Court has
        established for administrative checkpoints; and (iv) whether the Checkpoints imposed bur-
        dens on community members and the public at large that outweighed their purported traffic
        safety value;

   •    Third, whether the Checkpoint Policy violated class members’ Equal Protection and Title
        VI rights, which asks: (i) whether Defendants disproportionately operated Checkpoints in
        majority Black and Latino neighborhoods; (ii) whether Defendants’ choice of Checkpoint
        locations was motivated, at least in part, by the racial demographics of Buffalo’s neighbor-




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        hoods; (iii) whether tickets issued at Checkpoints disproportionally harmed Black and La-
        tino people; and (iv) whether the BPD received federal funding while it operated the
        Checkpoints in a racially discriminatory manner.

        Each of these questions relates to Defendants’ conduct in general, not merely vis-a-vis one

or more individual class members, each is subject to common proof, and each will “generate com-

mon answers apt to drive the resolution of the litigation.” Wal-Mart, 564 U.S. at 350.

        Furthermore, many important damages questions are also common. These include whether

class members are entitled to general damages for violations of their Fourth Amendment and/or

Equal Protection rights and, if so, the amount of such damages; whether class members are entitled

to punitive damages and, if so, the amount of such damages; whether class members are entitled

to equitable disgorgement and, if so, the amount to be disgorged; and the methodology for appor-

tioning aggregate damages, if awarded, among individual class members. The answers to each of

these questions will be the same for each class member.

               2.      The Tinted Windows Class

        The members of the proposed Tinted Windows Class also share common questions of law

and fact. These include:

   •    First, whether the City’s tinted window ticketing practices subject the municipality to Mo-
        nell liability, which asks: (i) whether the BPD established a formal municipal policy, cus-
        tom, or practice of targeting Black and Latino motorists for multiple tinted windows tick-
        ets; (ii) whether Defendants demonstrated deliberate indifference by failing to supervise,
        monitor, investigate, train, and discipline officers who engaged in tinted windows ticket-
        ing; (iii) and whether such policies, customs, practices, and/or deliberate difference were
        the moving force behind Plaintiffs’ injuries;

   •    Second, whether Defendants’ tinted windows ticketing policies and practices violated class
        members’ Equal Protection and Title VI rights, which asks: (i) whether such policies and
        practices were motivated at least in part by race; (iii) whether the City’s final policymakers
        knew of the BPD’s tinted windows ticketing practices and deliberately allowed them to
        continue; (vii) whether the BPD received federal funding while it engaged in multiple
        tinted windows ticketing of predominantly Black and Latino drivers;




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     •    Third, whether BPD officers faced financial conflicts of interest that ran afoul of the Due
          Process Clause; and whether the City’s production expectations and overtime policies cre-
          ated a financial incentive for BPD officers to issue multiple tinted windows tickets to Black
          and Latino drivers.

As with the proposed Checkpoint Class, answering these questions “will resolve an issue that is

central to the validity of each one of the claims in one stroke.” Wal-Mart, 564 U.S. at 350. 15

          Plaintiffs # 1-21 v. County of Suffolk, 2021 WL 1255011 (E.D.N.Y. Mar. 12, 2021), pro-

vides the model. There, plaintiffs alleged the Suffolk County Police Department subjected Latino

motorists to race-based traffic stops. Id. at *2. Plaintiffs further alleged that the police department

knew of and “ignored” the discriminatory conduct while also “fail[ing] to take the actions neces-

sary to investigate and eliminate the[] practices.” Id. The court reasoned that “policies, practices,

and decisions … made at high levels of the [police] department” “generally arise from a centralized

source and employ a hierarchical supervisory structure to effect and reinforce [those] policies” in

a way that supports a finding of commonality. Id. at *14.

          As with the Checkpoint Class, the Tinted Windows Class members’ claims focus on “a

single policy of defendants”—targeting Black and Latino motorists for multiple tinted windows

tickets—that resulted in “commonality of the violation and the harm” experienced by class repre-

sentatives and proposed class members. County of Suffolk, 2021 WL 1255011 at *13. And Plain-

tiffs allege that this policy was established not by individual officers but by the City and the BPD

itself. ECF No. 63 ¶ 427. That “centralized source” of the violation and the harm supports a com-

monality finding for the Tinted Windows Class. County of Suffolk, 2021 WL 1255011 at *14.




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  Additionally, the Tinted Windows class has all of the same common damages questions as the
Checkpoint Class.


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               3.      The Traffic Enforcement Class

       Finally, members of the proposed Traffic Enforcement Class share common questions of

law and fact, including: (i) whether the City maintains a policy, custom, or practice of dispropor-

tionately subjecting Black and Latino motorists to traffic enforcement on the basis of their race or

ethnicity; (ii) whether the City is deliberately indifferent to the need to address and correct such

practices and to the risk that BPD officers are engaging in ongoing, racially-discriminatory traffic

enforcement practices; (iii) whether the City has failed to monitor, supervise, and train officers

with regard to racially discriminatory policing and traffic enforcement; (iv) whether the City has

failed adequately to investigate allegations of discriminatory policing and/or to discipline officers

engaged in racially discriminatory traffic enforcement, thus allowing such practices to continue;

(v) whether the City’s actions and inactions have facilitated and create a realistic and substantial

risk that class members will continue to face racially discriminatory traffic enforcement, including

via Checkpoints and multiple tinted windows ticketing, in the future; and (iv) whether the BPD

continues to receive federal funding.

       As with the Checkpoint Class and the Tinted Windows Class, “[t]hese questions are similar

to the common questions presented in other unlawful stop cases that Courts certified to proceed as

class actions.” County of Suffolk, 2021 WL 1255011 at *13 (citing Floyd v. City of New York, 283

F.R.D. 174 n.138 (S.D.N.Y. 2012); Davis v. City of New York, 296 F.R.D. at 166 n.50 (S.D.N.Y.

2013); Ligon v. City of New York, 288 F.R.D. 72, 82 (S.D.N.Y. 2013); Daniels v. City of New York,

198 F.R.D. 409, 417 (S.D.N.Y. 2001)); see also Ortega-Melendres v. Arpaio, 836 F. Supp. 2d 959,

989 (D. Ariz. 2011) (commonality satisfied for claim that “a policy of racial profiling, in violation

of the Fourteenth Amendment … leads officers to detain individuals without reasonable suspicion

that they have committed a crime, in violation of the Fourth Amendment”). And as in these polic-




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ing cases challenging discriminatory traffic and pedestrian stops stemming from centralized, hier-

archical policies and practices, “class wide proceeding here will generate common answers to these

questions that are apt to drive the resolution of the litigation.” Floyd, 283 F.R.D. 175. Commonality

is therefore satisfied for the Traffic Enforcement Class, and for each of Plaintiffs’ proposed classes

here.

         C.     The Proposed Classes Satisfy the Typicality Requirement

         The class representatives must present claims that are “typical of the claims … of the class.”

Fed. R. Civ. P. 23(a)(3). “Typical” claims are those which “arise[] from the same course of events”

and rely on “similar legal arguments” to prove the defendant’s liability. Marisol A., 126 F.3d at

376; Becerra, 24 F.4th at 131-32 (representatives’ retroactive claims against a hospital were typi-

cal of a class of future hospital patients because they relied on the same legal arguments under the

Due Process Clause); see also Odom v. Hazen Transp., Inc., 275 F.R.D. 400, 408 (W.D.N.Y. 2011)

(citing In re Drexel Burnham Lambert Grp., 960 F.2d at 291) (finding typicality where represent-

atives’ claims arose from the same circumstances as class members claims, and thus raised the

same legal arguments).

         Like the commonality requirement, typicality does not require that all class members, or

even class representatives, bring “identical” claims. Frank v. Eastman Kodak Co., 228 F.R.D. 174,

182 (W.D.N.Y. 2005); see also MacNamara v. City of New York, 275 F.R.D. 125, 138 (S.D.N.Y.

2011) (“[T]he typicality criterion does not require that the factual predicate of each claim be iden-

tical to that of all class members.”) (emphasis in original). “[W]hen the same unlawful conduct”

affects both the named plaintiff and the class, typicality is generally met “irrespective of minor

variations” in the claims’ underlying facts. Robidoux, 978 F.2d at 936-37.




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               1.      The Checkpoint Class

       Named Plaintiffs Bonds, Evans, and Redden bring claims that are typical of the Checkpoint

Class. All these Plaintiffs are Black individuals who were stopped pursuant to the Checkpoint

Policy, and all received tickets at those Checkpoints. Those claims all arise out of the “same course

of events” as proposed class members’ claims: the BPD’s use of Checkpoints to carry out a racially

discriminatory traffic enforcement scheme. Marisol A., 126 F.3d at 376. While there are differ-

ences among the types of tickets issued to class members, the dates and times of their traffic stops,

or the amounts owed for the infractions, these “minor variations” do not prevent a finding of typ-

icality given that the harms arise from Defendants’ same unlawful and discriminatory Checkpoint

practices. Robidoux, 978 F.2d at 936-37. Typicality is met under these circumstances.

               2.      The Tinted Windows Class

       Named Plaintiffs Franklin, Palmer, and Yeldon present claims that are typical of claims

brought by members of the Tinted Windows Class. Each are Black individuals who received mul-

tiple tinted window tickets from BPD officers at a single traffic stop while driving in the City of

Buffalo. Exs.143 (at 112-113); 144 (at 76-77, 99). Though their factual situations are not identical,

due to receiving different numbers of tickets in different numbers of incidents, they need not be.

See MacNamara, 275 F.R.D. at 138. Plaintiffs Yeldon and Palmer seek relief for their individual

claims under the same legal theories as the class as a whole: that the Buffalo Police Department

has a policy of targeting Black and Latino individuals for multiple tickets in a discriminatory man-

ner such that the policy violates the Equal Protection Clause and Title VI of the Civil Rights Act,

and that the City’s production expectations and overtime policies created a financial incentive for

officers to issue multiple tinted windows tickets to drivers of color, in violation of the Due Process

Clause. Where, as here, class representatives and class members have “nearly identical” claims,




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Hallmark v. Cohen & Slamowitz, LLP, 293 F.R.D. 410, 418 (W.D.N.Y. 2013), Rule 23(a)(3)’s

typicality requirement is met.

               3.      The Traffic Enforcement Class

       All individual Plaintiffs—like the rest of the Traffic Enforcement Class members—are

Black and/or Latino individuals who have driven vehicles in the City of Buffalo and intend to do

so in future. And all individual Plaintiffs have experienced some or all of the unlawful traffic

enforcement practices at issue in this lawsuit. Thus, they all have the same interest in challenging

the BPD’s unconstitutional policy of targeting Black and Latino drivers for traffic stops, traffic

tickets, and vehicle Checkpoints. Further, all individual Plaintiffs bring legal claims raising the

same basic questions as proposed class members: whether the Defendants’ traffic enforcement

policies and practices violate the Fourth Amendment, the Due Process Clause, the Equal Protection

Clause, and Title VI of the Civil Rights Act of 1964. Courts have found typicality in similar cases

raising similar allegations of racially discriminatory policing practices. County of Suffolk., 2021

WL 1255011 at *14-15 (citing Floyd, 283 F.R.D. at 177); Ligon, 288 F.R.D. at 82; Daniels, 198

F.R.D. at 418. The Traffic Enforcement Class easily satisfies the typicality requirement.

       D.      The Proposed Classes Satisfy the Adequacy Requirement

       Under Rule 23(a)(4), class representatives must “fairly and adequately protect the interests

of the class.” Fed. R. Civ. P. 23(a)(4). The focus of the Rule 23(a)(4) inquiry is on “whether plain-

tiff[s’] interests are antagonistic to the interest of other members of the class.” Hallmark v. Cohen

& Slamowitz, LLP, 293 F.R.D. 410, 418 (W.D.N.Y. 2013) (citing In re Flag Telecom Holdings,

Ltd. Sec. Litig., 574 F.3d 29, 315 (2d Cir. 2009)). Additionally, class counsel must be “qualified,

experienced, and [generally] able to conduct the litigation.” Baffa v. Donaldson, Lufkin & Jenrette

Sec. Corp., 222 F.3d 52, 60 (2d Cir. 2000).




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        Class representatives here will have no problem “fairly and adequately” pursuing the best

interests of the classes they represent. Fed. R. Civ. P. 23(a)(4). Class representatives and class

members have aligned interests, and no proposed class representative has any conflict of interest

that would prevent them from serving as a class representative. See Class Representative Declara-

tions; Wilner Dec. ¶ 9.

        Plaintiffs’ counsel are well-qualified, well-resourced, and more than capable of handling a

complex class action. Counsel span four different organizations, each with its own expertise rep-

resenting plaintiffs in class actions and civil rights litigation. The Center for Constitutional Rights,

the National Center for Law and Economic Justice, and the Western New York Law Center are

nonprofit civil rights organizations that regularly litigate civil rights class actions. Covington &

Burling LLP is a leading global law firm that often handles complex civil litigation and class ac-

tions, including those alleging violations of Fourth and Fourteenth Amendment rights. Wilner Dec.

¶¶ 3-8. Together, these organizations form a team that is “qualified, experienced,” and more than

capable of serving as class counsel. Marisol A., 126 F.3d 1997. Both elements of Rule 23(a)(4) are

unquestionably satisfied.

        E.      The Proposed Classes Are Ascertainable

        In addition to the standard Rule 23(a) elements, a plaintiff seeking to represent a proposed

class must establish that the proposed class definitions satisfy the “implied requirement of ascer-

tainability.” Abdi v. Duke, 323 F.R.D. 131, 137 (W.D.N.Y. 2017). A class is ascertainable if it may

be “defined using objective criteria that establish a membership with definite boundaries.” In re

Petrobras Securities, 862 F.3d 250, 257 (2d Cir. 2017). “The requirement that there be a class …

will not be deemed satisfied unless the description of it is sufficiently definite so that it is admin-

istratively feasible for the court to determine whether a particular individual is a member.” Godson




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v. Eltman, Eltman, & Cooper, P.C., 328 F.R.D. 35, 47 (W.D.N.Y. 2018) (quotation marks and

citation omitted). Furthermore, a class should be narrowly tailored to include only aggrieved par-

ties. Abdi, 323 F.R.D. at 137.

       The ascertainability standard is “not demanding” and indeed is “designed only to prevent

the certification of a class whose membership is truly indeterminable.” Ebin v. Kangadis Food

Inc., 297 F.R.D. 561, 567 (S.D.N.Y. 2014). “This modest threshold requirement will only preclude

certification if a proposed class definition is indeterminate in some fundamental way.” Petrobras,

862 F.3d at 269. Plaintiffs in the Second Circuit need not demonstrate that class members can be

identified in an administratively feasible way. “The Circuit … declined to adopt a heightened as-

certainability theory that requires a showing of administrative feasibility at the class certification

stage.” Singleton v. Fifth Generation, Inc., 2017 WL 5001444, at *14 (N.D.N.Y. 2017) (citing

Petrobras, 862 F.3d at 265).

       Here, the proposed classes are specifically defined based on objective criteria. The class

definitions identify specific groups of people, subjected to specific acts, within a defined time

period. For example, the Checkpoint Class is defined as “All individuals, including Black and/or

Latino individuals, who received a ticket or were arrested at a BPD ‘traffic safety’ vehicle check-

point on or after June 28, 2015.” Though some work remains to identify the individual class mem-

bers, (Krugman Dec. ¶¶ 25-35, 52-53, 56-57), that work need not be done now. Here, as in

Petrobras, 862 F.3d at 267, and Cox v. Spirit Airlines, Inc., 341 F.R.D. 349, 372-73 (E.D.N.Y.

2022), amended on reconsideration in part, 2023 WL 1994201 (E.D.N.Y. Feb. 14, 2023), addi-

tional materials can be submitted as part of putative class members’ proofs of claim. At the certi-

fication stage, it is sufficient that the definition itself be based entirely on objective criteria, and




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the definition of the Checkpoint Class plainly is. The same applies to the other proposed Classes.

Accordingly, Plaintiffs meet the implied ascertainability requirement.

II.    THE PROPOSED CHECKPOINT AND TINTED WINDOWS CLASSES MEET
       THE REQUIREMENTS OF RULE 23(b)(3)

       Rule 23(b)(3) applies to damages class actions, Wal-Mart, 564 U.S. at 362, and requires

plaintiffs to establish “that the questions of law or fact common to class members predominate

over any questions affecting only individual members, and that a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.” Rule 23(b)(3) “encom-

passes those cases in which a class action would achieve economies of time, effort, and expense,

and promote uniformity of decision as to persons similarly situated, without sacrificing procedural

fairness or bringing about other undesirable results.” Brown v. Kelly, 609 F.3d 467, 483 (2d Cir.

2010). Plaintiffs can establish predominance and superiority for the two proposed classes for which

Plaintiffs seek damages (the Checkpoints Class and the Tinted Windows Class).

       A.      Common Questions Predominate Over Individualized Issues

       The predominance requirement “tests whether proposed classes are sufficiently cohesive

to warrant adjudication by representation.” Amchem Prods. v. Windsor, 521 U.S. 591, 623 (1997).

Predominance is satisfied if: “(1) resolution of any material legal or factual questions . . . can be

achieved through generalized proof, and (2) these [common] issues are more substantial than the

issues subject only to individualized proof.” Petrobras, 862 F.3d at 270. Where Plaintiffs are “al-

legedly aggrieved by a single policy of the defendants, and there is strong commonality of the

violation and the harm, this is precisely the type of situation for which the class action device is

suited.” Brown, 609 F.3d at 484. While the predominance test is a more demanding inquiry than

that of commonality under Rule 23(a), predominance “does not require a plaintiff seeking class

certification to prove that each element of her claim is susceptible to class-wide proof.” Amgen



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Inc. v. Conn. Ret, Plans & Tr. Funds, 568 U.S. 455, 469 (2013) (emphasis in original). Individual

questions “need not be absent.” Sykes, 780 F.3d at 81. Rather, predominance asks “whether the

common, aggregation-enabling, issues in the case are more prevalent or important than . . . indi-

vidual issues.” Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453 (2016) (emphasis added). The

starting point for this analysis is “the elements of the underlying cause of action.” Erica P. John

Fund, Inc. v. Halliburton Co., 563 U.S. 804, 809 (2011). 16

          For all claims in both Classes, Plaintiffs must establish that City policy, custom, or delib-

erate indifference caused their injuries. Given its focus on establishing a singular intent at the pol-

icymaker level, the evidence in support of Monell liability does not vary from class member to

class member. Thus municipal liability is itself a major, overarching common question that justi-

fies a predominance finding. E.g. Brown, 609 F.3d at 483-84; Stinson v. City of N.Y., 282 F.R.D.

360, 382 (S.D.N.Y. 2012). But common questions also predominate for Plaintiffs’ substantive

claims.

                 1.      The Checkpoint Class

          The Checkpoint Class brings claims for violations of the Fourth Amendment, Fourteenth

Amendment Due Process and Equal Protection Clauses, and Title VI of the Civil Rights Act. 17

Plaintiffs’ evidence will establish that the BPD operated the Checkpoints in a uniform manner

pursuant to formal municipal policy.




16
   The elements of a § 1983 violation are that a person acting under color of state law causes a
violation of the plaintiff’s federal constitutional or statutory rights. 42 U.S.C. § 1983. Here, De-
fendants indisputably acted under color of state law when they subjected Plaintiffs and class mem-
bers to traffic enforcement. Accordingly, this brief focuses on the second element of the § 1983
claim: the violation of federal rights.
17
   The Due Process claim is discussed in the context of the Tinted Windows class; the claim and
supporting evidence is the same for both Classes.


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                       a)      The Fourth Amendment Claim

       In City of Indianapolis v. Edmond, the Supreme Court held that a checkpoints program

operated with a “primary purpose . . . to uncover evidence of ordinary criminal wrongdoing” vio-

lates the Fourth Amendment. 531 U.S. 32, 42 (2000). Plaintiffs allege, and intend to prove at trial,

that the BPD subjected them and thousands of similarly situated class members to unlawful crime

suppression checkpoints, in violation of the core principles articulated in Edmond.

       Resolution of the Fourth Amendment claim turns on one or two key questions, each of

which can be answered at once for every single class member. First, what was “the primary pur-

pose of the Checkpoints program”? Edmond, 531 U.S. 32, 33 (2000). Identifying the primary pur-

pose turns on the goals and objectives underlying the policy “at the programmatic level”; the “sub-

jective intentions” of the individual officers who carry out the policy “are irrelevant.” Id. at 45-46;

see also Lynch v. City of New York, 589 F.3d 94, 100 (2d Cir. 2009). Because the programmatic

goals of the program do not vary by class member, this is a common question. And the question is

a predominant one as well, for if Plaintiffs prove that Defendants operated the Checkpoints for a

primary programmatic purpose of generalized crime control, they will have established Defend-

ants’ liability on the Fourth Amendment claim.

       Alternatively, Plaintiffs contend that even if operated for the ostensible purpose of traffic

safety, the Checkpoints fail the special needs balancing test articulated in Lynch, which weighs the

strength of the governmental interest against the intrusion on the privacy rights of those members

of the public impacted by the policy. 589 F.3d at 100, 103-04. Again, the application of the bal-

ancing test is not merely a common question, turning on common evidence that will not vary from

class member to class member. It is also a predominant question, for if Plaintiffs obtain the answer

they seek, Defendants will be liable to all class members.




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                       b)      The Equal Protection and Title VI Claims

       The Equal Protection and Title VI Claims have the same elements. Both claims require

Plaintiffs to prove that Defendants intentionally discriminated against them on the basis of race. 18

Brown v. City of Oneonta, N.Y., 221 F.3d 329, 337 (2000). Plaintiffs may establish either that (1)

the City applied a facially neutral policy in an intentionally discriminatory manner; or (2) the City’s

facially neutral policy had an adverse impact and was motivated by discriminatory animus. Id.;

see also Floyd, 959 F. Supp. 2d at 661. Determining discriminatory intent, in turn, requires appli-

cation of “the familiar Arlington Heights factors,” which include statistical disparities, the histor-

ical background of the decision, substantive departures from normal procedures, and the legislative

or administrative history surrounding the enactment of the policy. Mhany Mgmt., Inc. v. Cty. of

Nassau, 819 F.3d 581, 606, 612 (2d Cir. 2016) (citing Vill. of Arlington Heights v. Metro. Housing

Dev. Corp., 429 U.S. 252, 266-67 (1977)); Doe v. Vill. of Mamaroneck, 462 F. Supp. 2d 520, 547

(E.D.N.Y. 2006). The critical factor here is the City’s discriminatory intent in promulgating and

implementing the Checkpoint Policy, which caused harm to Plaintiffs and class members.

       Plaintiffs intend to prove their Fourteenth Amendment Equal Protection and Title VI

claims with common evidence pertaining to the City’s policy and practice of locating Checkpoints

overwhelmingly in Black and Latino neighborhoods, particularly on the East Side of Buffalo. Spe-

cifically, Plaintiffs will show that from January 2013 through June 2017, when BPD started man-

ufacturing Potemkin checkpoints in response to the Common Council, BPD erected more than

79% of their Checkpoints in Black and Latino neighborhoods (Krugman Dec. ¶ 67, rows 1-3,

1201/1506)—and the relevant City policymaker, Commissioner Derenda, selected or ratified the




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  Plaintiffs’ Title VI claims require proof of an additional element: that the BPD received federal
funds during the time period at issue. Defendants have admitted this element. Ex. 127 at 16.


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locations. Plaintiffs will prove that City policy required officers running Checkpoints to issue tick-

ets for all possible violations identified at the Checkpoint; officers had no discretion under the

Checkpoint Policy. Plaintiffs will also show that the BPD disproportionately targeted Black and

Latino neighborhoods in a manner that cannot be explained by crime, accidents, or traffic safety.

Plaintiffs will establish that in 2015 the City established its own Traffic Violations Bureau to max-

imize municipal ticket revenue, and that subsequently the BPD ran even more Checkpoints and

issued more tickets at Checkpoints in Black and Latino neighborhoods. Plaintiffs will also demon-

strate that when the Buffalo Common Council and local news media demanded public disclosure

of the Checkpoint locations as part of an effort to investigate whether the BPD’s Checkpoint pro-

gram disproportionately targeted Black and Latino neighborhoods, the BPD ran Checkpoints pre-

dominately in white neighborhoods and disclosed only those manufactured Checkpoint locations

to the public. As for the Arlington Heights factors, Plaintiffs’ experts will testify as to the discrim-

inatory impact and the historical background of racially discriminatory policing and the Check-

points program (and each class member will rely on the same expert testimony). As with the Fourth

Amendment violations, Plaintiffs’ Equal Protection theory turns on the intent and motivations of

municipal policymakers, not individual officers.

               2.      The Tinted Windows Class

       Similarly, common questions predominate for members of the Tinted Windows Class. This

Class brings claims under the Fourteenth Amendment Due Process and Equal Protection Clauses

and Title VI of the Civil Rights Act.

                       a)      The Due Process Claim

       Finally, Plaintiffs’ Fourteenth Amendment Due Process Claim turns entirely on common

evidence of municipal policy. This claim arises out of the Supreme Court’s decision in Marshall

v. Jerrico, which held: “A scheme injecting a personal interest, financial or otherwise, into the


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enforcement process may bring irrelevant or impermissible factors into the prosecutorial decision

and in some contexts raise serious constitutional questions.” 446 U.S. 238, 249-50 (1980). Courts

apply the same standards to police officers as they do to prosecutors. E.g., Brucker v. City of Do-

raville, 38 F.4th 876, 887 (11th Cir. 2022). In Marshall, the Supreme Court denied the due process

claim because under the challenged scheme, the prosecutor had no personal financial motivation

to prosecute child labor violations. 446 U.S. at 250. The same cannot be said for BPD officers and

traffic enforcement.

        Here, Plaintiffs will use common evidence to prove that City policies created unlawful,

personal financial incentives for officers to issue traffic tickets and impound vehicles. Top munic-

ipal policymakers, including Mayor Brown, faced intense pressure to raise revenue without raising

property taxes; they identified traffic tickets as a promising revenue source; and they created the

BTVA in part to become a profit center for the City. The City also created—as a matter of munic-

ipal policy—overtime opportunities under which officers could and did significantly increase their

salaries and future pension benefits. The Commissioner communicated that he expected officers

to issue large numbers of traffic tickets and vehicle impounds, and officers understood that over-

time opportunities bore a strong relationship to traffic enforcement, because high ticket and im-

pound numbers both justified and were an expected outcome of overtime shifts. These expectations

drove Checkpoints and multiple ticketing of Black and Latino motorists. All of these facts do not

vary one iota from one class member to the next.

        As with Plaintiffs’ other claims, whether in fact an individual officer consciously recog-

nized a financial motivation to issue a ticket (or multiple tickets) to a particular individual has little

bearing on the legal analysis. “The imperatives of due process require application of an objective

standard in all cases, whether or not actual bias exists or can be proved.” Gacho v. Wills, 986 F.3d




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1067, 1071 (7th Cir. 2021) (quoting Caperton v. A.T. Massey Coal Co., 556 U.S. 868, 886 (2009)).

The important legal consideration is whether the municipal policies at issue created a substantial

and unacceptable risk of bias by tying overtime opportunities—which directly benefit officers in

the form of higher salaries and increased pension contributions—to high ticket and impound num-

bers. While Plaintiffs and Defendants surely have different answers to this question, none of it

depends on individualized evidence from class members.

                       b)     The Equal Protection and Title VI Claims

       In addition to the evidence presented on behalf of the Checkpoint Class, Plaintiffs and

Tinted Windows class members will show that Defendants had a widespread custom and practice

of targeting Black and brown drivers for multiple tinted windows tickets—often issuing four or

more tinted windows tickets in a single stop—both at and outside of Checkpoints.

       The data tells a shocking story: tinted windows ticketing exploded with the advent of the

Strike Force, and catapulted again after the City established the BTVA. During this time, the BPD

issued 86.8% of tinted windows tickets where race could be identified (and 73.3% of all tinted

window tickets) to minority drivers. Krugman Dec. Ex. 13 (panel 4, columns 2 and 3). Further, the

BPD issued multiple tinted windows tickets to minority drivers 65-90% of the time, as compared

to 50-75% of the time for white drivers. Ex. 1 ¶¶ 295-96. In raw numbers, the BPD issued 38,364

tinted-windows tickets to minority drivers in 15,999 incidents, as compared to 5,800 tickets in

2,843 incidents to white drivers. Krugman Dec. Ex. 13 (panel 4, column 6; panel 5, column 6).

       Top city policymakers including Commissioners Derenda and Lockwood, and Chiefs

Brinkworth and Young all knew that BPD officers engaged in these practices—and they knew it

was wrong. Commissioner Derenda verbally ordered officers to stop engaging in the practice—

but took no measures (not even issuing a written command) to ensure that officers implemented

their orders. Predictably, officers did not stop, and city policymakers did nothing to enforce their


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order. Commissioner Lockwood knew that officers engaged in multiple tinted windows ticketing

and deliberately allowed them to continue—even after the filing of the Amended Complaint in this

action, which put the City on clear notice of the profound racial disparities involved in the BPD’s

tinted windows ticketing practices. Plaintiffs will argue that the City’s institutional failure to pro-

tect class members from known wrongful practices derives from discriminatory intent. Plaintiffs

will also show that BPD’s tinted windows ticketing practices constituted irregularities and sub-

stantive departures, relevant to the Arlington Heights analysis.

        Hill v. City of N.Y., 2019 WL 1900503 (E.D.N.Y. Apr. 29, 2019), is instructive. In Hill, a

class of predominantly minority NYPD 911 Operators brought pattern and practice disparate treat-

ment claims against the city, alleging that they worked under different and worse employment

rules (overtime, scheduling, breaks, leave, etc.) than predominantly white dispatchers for the Fire

Department and Emergency Management Services who performed the same job functions. See

generally Hill v. City of N.Y., 136 F.Supp.3d 304 (E.D.N.Y. 2015) (describing facts and claims).

At the class certification stage, the court had no problem concluding that common questions pre-

dominated because “the gravamen of every class member’s claim is that Defendants engaged in

an overarching pattern of discrimination.” 2019 WL 1900503, at *9. As for the critical question of

discriminatory intent, the claim that the municipality treated a minority group differently and

worse than a similarly situated non-minority group was “subject to generalized proof” because “it

requires analysis at the group level.” Id. at *10. So too here. As set forth above, the evidence clearly

shows that the BPD had an entrenched custom and practice of treating minority drivers differently




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from non-minority drivers with respect to tinted windows ticketing.19 The City policymakers’ tol-

erance of this overarching pattern of discrimination is common to all class members.

       None of these facts vary from class member to class member. Plaintiffs’ claims cry out for

common resolution.

       B.         Minor Factual Variations Among Class Members, Such As Differences in
                  Damages, Do Not Defeat Predominance

       Minor factual variance—such as the circumstances of individual ticketing incidents or var-

iations in damages—does not impede the common resolution of Plaintiffs’ and class members’

claims. Where class members’ claims “all arise from the same core allegation,” certification is

appropriate despite the presence of some individualized questions. Brown, 609 F.3d at 484. “Rule

23(b)(3) requires that common questions predominate, not that the action include only common

questions.” Id.

       To begin with, “individualized monetary claims belong in Rule 23(b)(3)” Wal-Mart Stores,

564 U.S. at 362. For this reason, “individualized damages determinations alone cannot preclude

certification under Rule 23(b)(3).” Roach v. T.L. Cannon Corp., 778 F.3d 401, 409 (2d Cir. 2015);

see also Umbrino v. L.A.R.E. Partners Network, Inc., 585 F. Supp. 3d 335, 361 (W.D.N.Y. 2022)

(while there “may be individualized questions as to damages,” common questions predominated

because “the matter of liability can be determined on a class-wide basis with generalized proof”);

Mendez v. Radec Corp., 232 F.R.D. 78, 92 (W.D.N.Y. 2005) (individualized damages arise in

“almost any class action” and do “not mean that a class should not be certified”); Macarz v.

Transworld Sys., Inc., 193 F.R.D. 46, 54 (D. Conn. 2000) (“While damage amounts may vary, the


19
   In the alternative, Plaintiffs will argue, supported by the expert testimony of Michael Gennaco,
that the City was deliberately indifferent to the risk of racially discriminatory tinted windows tick-
eting by BPD officers. Again, the pivotal question of the City’s deliberate indifference is common
to all class members, further supporting predominance. See Butler v. Suffolk County, 289 F.R.D.
80, 102 (E.D.N.Y. 2013).


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claims of the class present the same legal theories based on identical facts such that common ques-

tions clearly predominate.”).

        Similarly, that individualized defenses “may arise and may affect different class members

differently does not compel a finding that individual issues predominate over common ones….[A]s

long as a sufficient constellation of common issues binds class members together, variations in the

sources and application of [a defense] will not automatically foreclose class certification.” In re

Visa Check/MasterMoney Antitrust Litig., 280 F.3d 124, 138 (2d Cir. 2001).

        Cases similar to this one are routinely certified. For example, in Brown v. Kelly, the Second

Circuit upheld b(3) class certification even though it acknowledged that “the district court will be

required to make individualized inquiries with respect to some of the plaintiffs and some of the

claims.” 609 F.3d at 483. Common questions included whether the city had a policy of enforcing

an unconstitutional statute or failed adequately to train officers, whether policymakers had

knowledge of the unlawful acts of subordinates, and whether individual defendants could take

advantage of qualified immunity. Id. at 484. These questions predominated because they “are

likely to be central to all of the plaintiffs’ cases and could be dispositive to the resolution of some

claims.” Id.

        Similarly, in Pritchard v. County of Erie, 269 F.R.D. 213, 219 (W.D.N.Y. 2010), the court

certified a b(3) class after determining that common questions, including whether defendants had

a strip search policy, the constitutionality of the policy, and the ultimate liability of the County and

individual defendants, outweighed individual questions. In Stinson v. N.Y., 282 F.R.D. 360, 382-

83 (S.D.N.Y. 2012), the common questions “whether Defendants engaged in a pattern and practice

of issuing summonses in the absence of probable cause, whether that practice has been motivated

by a quota, whether that practice has been perpetuated by inadequate training and whether potential




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plaintiffs’ constitutional rights have been infringed upon as a result of the NYPD’s alleged sum-

monsing practices” predominated. And in Butler, 289 F.R.D. at 102, common questions concern-

ing whether jail conditions were unconstitutionally cruel and inhuman, whether defendants were

deliberately indifferent to such conditions, and the availability of administrative remedies predom-

inated over individual issues like the extent of each class member’s damages.

       Here, as in Brown, Pritchard, Stinson, and Butler, common questions include whether the

City of Buffalo instituted or acceded to certain policies and practices with respect to policing and

overtime; the intent of city policymakers in maintaining and perpetuating such policies; the extent

of policymaker knowledge and failure to train, monitor, supervise, and discipline officers; and

whether the city’s implementation of the policies resulted in violations of class members’ consti-

tutional rights. These common questions go directly to liability and far outweigh any minor indi-

vidual questions Defendants may raise.

       C.      A Class Action is Superior to Other Methods of Adjudication

       Rule 23(b)(3)’s second prong considers whether “a class action is superior to other availa-

ble methods for the fair and efficient adjudication of the [claims].”20 Fed. R. Civ. P. 23(b)(3). Here,

given the sheer number of class members and the fact that many of the people targeted by the

City’s unlawful ticketing practices (including all residents of the BMHA and many East Side res-

idents) have extremely low incomes, a class action is not just superior to other methods of adjudi-

cation: it is the only method of adjudication. Absent class certification, individual class members



20
  Relevant factors include: “(A) the interest of the members of the class in individually controlling
the prosecution or defense of separate actions; (B) the extent and nature of any litigation concern-
ing the controversy already commenced by or against members of the class; (C) the desirability or
undesirability of concentrating the litigation of the claims in the particular forum; and (D) the
difficulties likely to be encountered in the management of a class action.” Fed. R. Civ. P. 23(b)(3).
“[W]hile these factors, structurally, apply to both predominance and superiority, they more clearly
implicate the superiority inquiry.” Sykes, 780 F.3d at 82.


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will have no practical way to vindicate their rights. Godson v. Eltman, Eltman, & Cooper, P.C.,

328 F.R.D. 35, 50 (W.D.N.Y. 2018) (in considering Rule 23(b)(3) superiority, it is appropriate for

the court to consider the “inability of the poor or uninformed to enforce their rights and the im-

probability that large numbers of class members would possess the initiative to litigate individu-

ally”).

          Class actions “facilitate the redress of claims where the costs of bringing the individual

actions outweigh the expected recovery.” In re U.S. Foodservice Inc. Pricing Lit., 729 F.3d 108,

130 (2d Cir. 2013). Here, the individual Plaintiffs and class members suffered loss of liberty, the

indignities of racial discrimination, and financial harm from wrongful ticketing and impound prac-

tices. These harms deserve recompense, and given the number of class members affected, the ag-

gregate damages are substantial. However, each individual class member’s damages are miniscule

in comparison to the immense costs of litigation. To obtain relief in an individual case, each class

member would need to build an evidentiary record sufficient to support Monell liability; litigation

expenses would dwarf any individual recovery. Moreover, many class members have limited in-

come and lack access to counsel for individual litigation. Perhaps this explains why there are no

similar cases pending in the Western District of New York, despite Defendants’ practices having

harmed tens of thousands of people. Under such circumstances, a class action is superior. See, e.g.,

Umbrino, 585 F. Supp. at 335.

          The most important superiority factor—manageability—also favors certification. Determi-

nation of class membership is straightforward, as Plaintiffs have obtained electronic records con-

taining detailed data for all traffic arrests and tickets made by the BPD since January 1, 2012.

Krugman Dec. ¶¶ 3-7, 25(b). The data includes the name and driver license number of the person

stopped, the location of the stop or arrest, the specific violation(s) alleged, and the identity of the




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issuing or arresting officer, among other details. Id. ¶¶ 7, 25(b), 27, 52. Plaintiffs also have, as a

result of pre-suit FOIL requests and follow-up discovery, a list of checkpoints including date, time

and location. Id. ¶¶ 21-23; Exs. 6a, 6b. Plaintiffs can identify tickets issued to and arrests of mem-

bers of the Checkpoint Class by cross-referencing the ticketing and arrest data against the check-

point list. Id. ¶¶ 25-36, 52-53. 21 Plaintiffs can identify members of the Tinted Windows class

simply by searching the ticketing records for individuals who received more than one tinted win-

dows ticket in a single stop. Id. ¶ 57. Indeed, Plaintiffs’ counsel have already run such searches

and have lists of tickets issued to putative class members. Id. ¶¶ 25-54, 57. All that is required is

to convert tickets to names and addresses, and the City has stipulated that it has the information

necessary to do that. Id. ¶ 52; Krugman Dec. Ex.14. These lists plainly provide a manageable

plan—mailing to the addresses on the lists—for providing “the best notice practicable” to class

members, as required by Rule 23(c)(2)(B).

       Plaintiffs propose a phased trial plan. In Phase I, Plaintiffs will use common evidence to

prove Defendants’ liability on a class-wide basis. Should one or more Classes prevail on their

Fourth Amendment and/or Equal Protection claims, the same jury will immediately convene to

determine the general damages to which class members are entitled for lost liberty and/or the dig-

nitary harms of racial discrimination. For purposes of establishing general damages, Plaintiffs sug-

gest the Court allow each side to call up to ten class members, who will testify to the details of the

unlawful traffic enforcement (length of detention, number of tickets issued, etc.) but not injuries

suffered or their individual backgrounds (such as occupations, education levels, criminal histories,

family situations, and similar personal facts). See In re Nassau County Strip Search Cases, 2009




21
  Certain Checkpoints not on the main Checkpoint list likewise generate lists of ticket numbers,
which translate into class members. Id. ¶¶ 38-48; Krugman Dec. Ex. 7.


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WL 706252, at *2-3 (E.D.N.Y. Mar. 16 2009) (devising method); see also Betances v. Fischer,

2022 WL 765963, at *11-12 (S.D.N.Y. Mar. 14, 2022) (endorsing “a matrix or grid system” for

calculating class-wide general damages for lost liberty); Barnes v. District of Columbia, 278

F.R.D. 14, 20-21 (D.C. Cir. 2011) (allowing jury to calculate general damages based on repre-

sentative class member testimony “limited solely to the details of such class members' overdeten-

tions and strip searches”); Dellums v. Powell, 566 F.2d 167, 174 n.6 (D.C. Cir. 1977) (awarding

general damages for false arrest and false imprisonment on sliding scale based on length of deten-

tion). Importantly, general damages for constitutional violations are based on the monetary value

of harms “inseparable from the injury to human dignity.” Augustin v. Jablonsky, 819 F.Supp.2d

153, 163 (E.D.N.Y. 2011). General damages do not compensate for emotional distress, psycho-

logical harm, loss of employment, or other forms of special or consequential damages, each of

which must be individually proven.

       Phase II will determine the individualized damages owed to the class members, many of

which are straightforward and easily calculated. The City of Buffalo maintains data from which it

is possible to determine for each ticket issued, the dollar value of the fine levied and whether the

defendant paid the fine. Exs. 127 (at 12-13); 129. Similarly, the City maintains impound records,

including the license plate number of the vehicle, data and duration of impound, and amounts paid

and owed on the vehicle. Id. These records permit a basic calculation of the direct financial harms

flowing from Defendants’ unlawful traffic enforcement. Courts routinely find such “mechanical

calculations” manageable. Hardgers-Powell v. Angels in Your Home LLC, 330 F.R.D. 89, 104

(W.D.N.Y. 2019).

       As for any other individualized damages issues that may arise, “there are a number of man-

agement tools available to a district court to address” them. In re Nassau County Strip Search




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Cases, 461 F.3d 219, 231 (2d Cir. 2006). These include (1) bifurcating liability and damage trials

with the same or different juries; (2) appointing a magistrate judge or special master to preside

over individual damage proceedings; and (3) decertifying the class after the liability trial and

providing notice to class members concerning how they may proceed to prove damages in separate

proceedings after the liability trial. In re Visa Check/MasterMoney Antitrust Litig., 280 F.3d 123,

141 (2d Cir. 2001). Moreover, “failure to certify an action under Rule 23(b)(3) on the sole ground

that it would be unmanageable is disfavored and should be the exception rather than the rule.”

Petrobras, 862 F.3d at 268.

        Class certification will permit the resolution of tens of thousands of individual claims in a

single forum, at one time, thereby avoiding either a multiplicity of repetitive lawsuits, or worse

yet, and more likely, no lawsuits at all. Under these circumstances, a class action is superior.

III.    THE PROPOSED TRAFFIC ENFORCEMENT CLASS MEETS THE REQUIRE-
        MENTS OF RULE 23(b)(2)

        Plaintiffs proposed Traffic Enforcement Class seeks prospective, injunctive relief to end

the unlawful and discriminatory traffic enforcement policies that target Black and Latino motor-

ists. Rule 23(b)(2) provides for certification when the requirements of Rule 23(a) are met and

defendants have “acted or refused to act on grounds that generally apply to the class, so that final

injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

whole[.]” Fed. R. Civ. P. 23(b)(2). In other words, Rule 23(b)(2) class certification is warranted

when “a single, indivisible remedy would provide relief to each class member.” Wal-Mart Stores,

Inc. v. Dukes, 564 U.S. 338, 341 (2011).

        The Traffic Enforcement Class meets the Rule 23(b)(2) requirements because the chal-

lenged policies affect the entire class and the remedy sought benefits the class as a whole. Plaintiffs

seek to enjoin Defendants from conducting vehicle checkpoints for the purpose of general crime



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control; targeting Buffalo motorists for traffic stops, tickets, and vehicle Checkpoints on the basis

of their race and ethnicity; and performing traffic stops and vehicle Checkpoints for improper pe-

cuniary purposes. Plaintiffs also seek an Order requiring Defendants to implement programs and

policies with respect to supervision, monitoring, accountability, training, and discipline that will

significantly reduce the risk that BPD officers will subject people to racially discriminatory traffic

enforcement. Additionally, Plaintiffs seek an order requiring the BPD to document all traffic stops

and tickets in sufficient detail required for independent supervisory review for compliance with

the Fourth and Fourteenth Amendments and Title VI of the Civil Rights Act and to ensure such

documentation is retained in a single, up-to-date computerized database. All class members will

benefit from these reforms.

       Certification under Rule 23(b)(2) is particularly appropriate when parties seek “institu-

tional reform in the form of injunctive relief.” Raymond v. New York State Dep’t of Corr. & Cmty.

Supervision, 2022 WL 97327, at *9 (N.D.N.Y. Jan. 11, 2022) (quoting Stinson, 282 F.R.D. at 379

(emphasis added)). The Supreme Court has specified that “civil rights cases against parties charged

with unlawful, class-based discrimination are prime examples” of Rule 23(b)(2) class actions. Am-

chem, 521 U.S. at 614. Here, the Traffic Enforcement Class seeks declaratory and injunctive relief

to achieve institutional reform.

       Class actions seeking prospective relief from policing practices, including those alleging

violations of the Fourth and Fourteenth Amendments, have routinely been certified under Rule

23(b)(2). See, e.g., Suffolk, 2021 WL 1255011, at *1 (pattern and practice of discriminatory polic-

ing of Latinos); Vogel v. City of New York, 2017 WL 4712791, at *7 (S.D.N.Y. Sept. 19, 2017)

(enforcement of law affecting unhoused people); Davis , 296 F.R.D. 158 (pattern of discriminatory




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stops, searches, and arrests to enforce trespassing prohibition); Ligon , 288 F.R.D. 72 (unconstitu-

tional searches of residents and visitors of public housing); Floyd, 283 F.R.D. 153 (racially dis-

criminatory stop and frisk policy); Stinson, 282 F.R.D. 360 (issuing summonses to fulfill a quota);

Ortega-Melendres, 836 F. Supp. 2d 959 (racial profiling of Latino motorists); Morrow v. Wash-

ington, 277 F.R.D. 172 (E.D. Tex. 2011) (targeting racial and ethnic minorities for pretextual

stops); Casale v. Kelly, 257 F.R.D. 396, 401 (S.D.N.Y. 2009) (enforcement of unconstitutional

anti-loitering law). This precedent strongly supports certification of the Traffic Enforcement Class.

Because the Traffic Enforcement Class meets all requirements of Rule 23(a) and (b)(2), class cer-

tification is required.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this Court certify the Classes

described in this motion.




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